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                                                                             SYR058313


UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

WHAT A SMOKE, LLC,

             Plaintiff,               Miscellaneous Civil Action
                                           8:20-mc-63 (LEK/CFH)
                                      No. ________________________________
v.
                                      Underlying Litigation
DURACELL U.S. OPERATIONS, INC.,       No. 2:19-cv-16657-JMV-JAD (D. N.J.)
             Defendant.


 MOTION BY:                            Defendant Duracell U.S. Operations, Inc., by
                                       its undersigned counsel.

 DATE, TIME, AND PLACE OF              _________________, 2020 at ________ a.m.
 HEARING:                              at the US District Court, Northern District of
                                       New York, The Gateway Building, 14 Durkee
                                       St., Plattsburgh, NY 12901.

 SUPPORTING PAPERS:                    Declaration of Robert N. Phillips, executed on
                                       October 23, 2020, with exhibits; Proposed
                                       Order; and Memorandum of Law, dated
                                       October 23, 2020.

 RELIEF REQUESTED:                     An Order, pursuant to Fed. R. Civ. P. 37 and
                                       45, (i) directing Michael and Tyler Frennier to
                                       fully and completely respond to and comply
                                       with the document subpoenas within 5 days
                                       of the Order, and (ii) further stating that the
                                       Frenniers’ failure to comply with the Order
                                       will result in an order of contempt of court
                                       and appropriate sanctions.

Dated: October 23, 2020            Respectfully submitted,

                                      REED SMITH LLP

                                      By: /s/ Talia N. Fiano
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                                Attorneys for Defendant,
                                Duracell U.S. Operations, Inc.




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                                CERTIFICATE OF SERVICE
       I certify that on the 23rd day of October, 2020, a true and correct copy of the foregoing

notice of motion, and supporting papers referenced therein, was served upon the following counsel,

via email and First Class Mail, addressed as follows:

               Howard Schwartz, Esq.
               Richard Gearhart, Esq.
               GEARHART LAW LLC
               41 River Road
               Innovation Plaza, Suite 1A
               Summit, New Jersey 07901
               howard@gearhartlaw.com
               rgearhart@gearhartlaw.com

       I additionally certify that on the 23rd day of October, 2020, a true and correct copy of the

foregoing notice of motion, and supporting papers referenced therein, was served upon Michael

Frennier and Tyler Frennier, via email and First Class Mail, addressed as follows:

               Michael Frennier
               Tyler Frennier
               14 Plattsburg Plaza
               Plattsburg, NY 12901
               michael@mtvapes.com
               tyler@mtvapes.com


                                                 By: /s/ Talia N. Fiano
                                                       Talia N. Fiano, Esq. (5587530)




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